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     In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-893V
                                        UNPUBLISHED


    FRANK MARES,
                                                             Chief Special Master Corcoran
                        Petitioner,
    v.
                                                             Filed: September 27, 2021
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,                                          Motion for decision; Dismissal;
                                                             Tdap Vaccine; Shoulder Injury
                        Respondent.                          Related to Vaccine Administration
                                                             (SIRVA)


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Heather L. Pearlman, U.S. Department of Justice, Washington, DC, for Respondent.

                                               DECISION1

       On February 8, 2021, Frank Mares filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa—10 through 34,2
(the “Vaccine Act”). Mr. Mares alleged that he suffered a shoulder injury related to
vaccine administration (“SIRVA”) from a tetanus, diphtheria, acellular pertussis (Tdap)
vaccine he received on December 16, 2020. ECF no. 1.

        On August 27, 2021, Mr. Mares filed a motion for a decision dismissing the
petition. For the reasons set forth below, Mr. Mares’ motion is GRANTED, and this case
is DISMISSED.

      In the petition, Mr. Mares alleged that he suffered a shoulder injury from a Tdap
vaccination but did not otherwise detail any of his symptoms or medical treatment. ECF


1Although I have not formally designated this Decision for publication, I am required to post it on the United
States Court of Federal Claims' website because it contains a reasoned explanation for the action in this
case, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will be
available to anyone with access to the internet. In accordance with Vaccine Rule 18(b), Petitioner has
14 days to identify and move to redact medical or other information, the disclosure of which would constitute
an unwarranted invasion of privacy. If, upon review, I agree that the identified material fits within this
definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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No. 1. Aside from a declaration, Mr. Mares did not submit any medical records or other
supporting documentation with the petition.

       The February 11, 2021 PAR Initial Order required Mr. Mares to file all the
statutorily required documents, including medical records supporting the vaccination,
pre-vaccination treatment, and post-vaccination treatment. ECF No. 5. On August 27,
2021, Mr. Mares filed some medical records covering post-vaccination treatment
through February 2021. Exhibit 3.

       On the same date, Mr. Mares filed a motion for a decision dismissing the petition
stating that “After further investigation, the facts and science supporting his case have
demonstrated to Petitioner that he will be unable to prove that he is entitled to
compensation in the Vaccine Program.” ECF No. 9.

        To receive compensation under the National Vaccine Injury Compensation
Program, a petitioner must prove either 1) that the vaccinee suffered a “Table Injury” –
i.e., an injury falling within the Vaccine Injury Table – corresponding to one of the
vaccinations, or 2) that the vaccinee suffered an injury that was actually caused by a
vaccine. See §§ 300aa—13(a)(1)(A) and 11(c)(1). Mr. Mares alleged that he sustained
a SIRVA Table Injury.

        Under the Vaccine Act, a petitioner may not receive compensation based solely
on the petitioner’s claims alone. Rather, the petition must be supported by either
medical records or by the opinion of a competent physician. § 300aa—13(a)(1). For a
Table Injury, among other requirements, a petitioner must establish with supporting
documentation the severity requirement, that he either suffered the effects of this injury
for at least six months or the injury resulted in inpatient hospitalization and surgical
intervention. § 300aa—11(c)(1). Mr. Mares did not file sufficient medical records to
establish the severity requirement. Moreover, Mr. Mares admitted in the motion for a
decision that he will not be able to establish entitlement to compensation.

       Thus, Petitioner has failed to establish entitlement to compensation in the
Vaccine Program. This case is dismissed for insufficient proof. The clerk shall
enter judgment accordingly.3

IT IS SO ORDERED.

                                                    s/Brian H. Corcoran
                                                    Brian H. Corcoran
                                                    Chief Special Master




3If Petitioner wishes to bring a civil action, he must file a notice of election rejecting the judgment
pursuant to § 21(a) “not later than 90 days after the date of the court’s final judgment.”

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